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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 19-81057-MC-ALTMAN/Brannon

  CHARTWELL STAFFING SERVICES, INC.,

         Plaintiff,
  v.

  ATLANTIC SOLUTIONS GROUP, INC., et al.,

        Defendants.
  _________________________________/

                                            ORDER

         THIS MATTER comes before the Court on United States Magistrate Judge Dave Lee

  Brannon’s Order granting Versant Funding, LLC’s Motions to Quash [ECF No. 35]. Having

  carefully reviewed the record and being otherwise fully advised, the Court hereby ORDERS AND

  ADJUDGES as follows:

         1. The Clerk of Court is directed to CLOSE this case.

         2. All pending deadlines and hearings are TERMINATED, and any pending motions are

            DENIED AS MOOT.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 26th day of November 2019.




                                                    _________________________________
                                                    ROY K. ALTMAN
                                                    UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
